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                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF MARYLAND

                                          :
DANA KRYSZTOFIAK
                                          :

        v.                                :    Civil Action No.      DKC 19-0879

                                          :
BOSTON MUTUAL LIFE INSURANCE
COMPANY                                   :

                         MEMORANDUM OPINION AND ORDER

        Presently pending and ready for resolution in this case

brought pursuant to the Employee Retirement Income Security Act of

1974 (“ERISA”), 29 U.S.C. § 1001, et seq., challenging the denial

of disability benefits, is the Motion to Reopen Case filed by

Plaintiff Dana Krysztofiak.             (ECF No. 82).       The court now rules,

no hearing being deemed necessary.              Local Rule 105.6.

     An explanation of the factual background of the case can be

found in the court’s September 16, 2022, memorandum opinion.                  (See

ECF No. 55).       Following that opinion, the case was remanded to the

ERISA    claim     administrator    for       Defendant     Boston   Mutual   Life

Insurance Company on April 11, 2023.                (ECF No. 80).    In the remand

order, the court instructed the claim administrator to “conduct a

‘full and fair’ review to determine whether the Special Conditions

Limitation     Rider     applies   to    Plaintiff’s       claim   for   disability

benefits     and    if   it   precludes       her   from   receiving     additional

benefits” under the group long term disability insurance policy
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issued by Defendant.        (Id.).    In her motion to reopen, Plaintiff

states that the claim administrator denied her claim again on

remand after “concluding that the Rider applied and precluded ‘any

occupation’ benefits.”          (ECF No. 82-1, at 3, 6-13).              Plaintiff

states that she appealed the decision, and the appeal was denied.

(Id. at 3, 15-17, 19-25).

      Plaintiff now moves to reopen her case before this court “for

the   purpose      of   determining    [her]      entitlement    to     disability

benefits under the [‘]any occupation[’] definition of disability

contained in the group disability income policy governing her Plan,

and for such other and further relief as justice may require.”

(Id. at 4).        In response to Plaintiff’s motion, Defendant states

that it does not oppose the motion but seeks clarification of the

question to be decided by the court once the case is reopened.

(ECF No. 83).

      Plaintiff’s motion to reopen the case will be granted.                   The

court     will     review   the     claim    administrator’s       most    recent

determination that Plaintiff is not entitled to benefits based on

the application of the Rider. The parties will brief that specific

issue.     If the court determines that the Rider is not properly

applied to Plaintiff’s claim, the issue will then be whether

Plaintiff     is    otherwise     entitled   to    benefits     under    the   “any

occupation” definition of disability. This issue was fully briefed

following the claim administrator’s September 26, 2020, denial of

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Plaintiff’s application for benefits, so additional briefing will

be unnecessary.    (See ECF Nos. 44, 52-54).

      For the foregoing reasons, it is this 28th day of July, 2023,

by the United States District Court for the District of Maryland,

ORDERED that:

      1.   The motion to reopen filed by Plaintiff Dana Krysztofiak

(ECF No. 82) BE, and the same hereby IS, GRANTED;

      2.   The clerk is directed to REOPEN the case;

      3.   A telephone conference to discuss the briefing schedule

will be held on Tuesday, August 29, 2023, at 12:00 p.m. (EDT).

Call-in information will be emailed to counsel for the parties;

and

      4.   The clerk will transmit copies of the Memorandum Opinion

and this Order to counsel for the parties.



                                                  /s/
                                        DEBORAH K. CHASANOW
                                        United States District Judge




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